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Thursday, August 17, 2017 - Albany, NY
Hon. Thomas J. McAvoy, Presiding
Clerk:       M. Price
Steno:       T. Casal




UNITED STATES OF AMERICA

      VS.                                        CRIMINAL NO. 1: 15-CR-346

MILES McCHESNEY




APPEARANCES:         AUSA Robert Sharpe for Govt; AFPD Timothy Austin for Deft; USPO
                     Stephanie Myers present



11:30 AM      In court; final supervised release violation hearing commences with defendant
              present in open court w/ counsel. Defendant admits to violations 2 thru 7 of
              amended SRV [17] petition and sentenced to be committed to the custody of BOP
              for a term of imprisonment of 18 months; Court makes findings upon the record
              re: upward sentencing departure. No term of Supervised Release to follow
              release. Parties advised appeal rights. Remaining violation 1 dismissed upon
              Govt motion. Defendant remanded to USM.

12:00 PM      Court stands adjourned.
